
68 So.3d 513 (2011)
STATE of Louisiana
v.
James E. MASON, Jr.
No. 2011-KK-1866.
Supreme Court of Louisiana.
August 29, 2011.
Writ granted. Given counsel's initial admission that race was a motivating factor in the exercise of his peremptory challenges, the district court abused its discretion in determining that counsel's subsequent attempt to set forth racially neutral reasons for his decisions, with respect to prospective jurors Michelle Blake and Mary Cope, was not pretextual. The ruling of the district court denying the State's Georgia v. McCollum, 505 U.S. 42, 112 S.Ct. 2348, 120 L.Ed.2d 33 (1992) challenge to prospective jurors Michelle Blake and Mary Cope is reversed. The case is remanded to the district court for re-seating of these two prospective jurors and for all further proceedings.
JOHNSON, J., would deny.
KNOLL, J., would deny.
